 ORDER PER CURIAM AND NOW, this 29th day of November, 2017, the Petitions for Allowance of Appeal are GRANTED, limited to the issue set forth below. Allocatur is DENIED as to all other issues. The issue, rephrased for clarity, is as follows: Did the Commonwealth- Court err in holding that the State Emergency Management Services Code, the State Dis-easé Prevention and Control Act' Law, the Second Class City Code, and the Home Rule Charter and Options Law -failed to satisfy the “expressly provided by statute” exception, and that the City of Pittsburgh therefore lacked the authority to pass the Paid Sick Days Act and the Safe.and Secure Buildings Act? The appeals from Nos. 227-230 WAL 2017 and Nos. 236-239 WAL 2017 are hereby CONSOLIDATED for briefing and oral argument. . 